     Case 1:15-cr-00046-LJO-SKO Document 194 Filed 04/03/19 Page 1 of 2



 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5
 6   Attorney for Defendant
     CHRISTINA MARTINEZ
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,           )                 No. 1:15-cr-00046 LJO-SKO-1
                                         )
12               Plaintiff,              )                 STIPULATION TO CONTINUE
                                         )                 SENTENCING AND ORDER
13         v.                            )
                                         )
14   CHRISTINA ANTONIA MARTINEZ,         )                 DATE: June 17, 2019
                                         )                 TIME: 10:30 a.m.
15               Defendant.              )                 JUDGE: Hon. Lawrence J. O’Neill
                                         )
16   ____________________________________)

17
18          IT IS HEREBY STIPULATED by and between the parties, through their respective
19   counsel, that the sentencing hearing scheduled for April 8, 2019, may be continued to June 17,
20   2019, or the soonest date thereafter convenient to the Court.
21          This continuance is requested to allow the parties additional time to gather relevant
22   information that should be considered by the Court prior to imposing sentence.
23          The parties agree that the delay resulting from this continuance shall be excluded in the
24   interest of justice, for effective defense investigation and preparation, pursuant to 18 U.S.C. §
25   3161(h)(7)(A).
26   //
27   //
28
     Case 1:15-cr-00046-LJO-SKO Document 194 Filed 04/03/19 Page 2 of 2



 1                                                          Respectfully submitted,

 2                                                          McGREGOR W. SCOTT
                                                            United States Attorney
 3
 4   DATED: April 2, 2019                                   /s/ Kathleen A. Servatius
                                                            KATHLEEN A. SERVATIUS
 5                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
 6
 7                                                          HEATHER E. WILLIAMS
                                                            Federal Defender
 8
 9   DATED: April 2, 2019                                   /s/ Eric V. Kersten
10                                                          ERIC V. KERSTEN
                                                            Assistant Federal Defender
11                                                          Attorney for Defendant
                                                            CHRISTINA MARTINEZ
12
13
14                                                   ORDER
15           The sentencing hearing for Christina Martinez is continued to June 17, 2019, at 10:30
16   a.m.
17
18   IT IS SO ORDERED.
19
         Dated:       April 3, 2019                          /s/ Lawrence J. O’Neill _____
20                                                   UNITED STATES CHIEF DISTRICT JUDGE

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      Martinez: Stipulation to Continue Sentencing    -2-
